      Case 2:18-cv-00103-WKW-SMD Document 1 Filed 02/08/18 Page 1 of 3




                        IN THE UNTTED STATERI15415WAPRT FOR THE
                                MIDDLE DISTRICT OF ALABAMA
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          Plaintiff(s),      i                          )          CIVIL ACTION NO. a!i           g... c.,V- /0.3- WK,
                                                                                                                     ‘4
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                                                        )          JURY DEMAND(MARK ONE)
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          v.                                            )        *YES                DNO
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 31        heLansivverrhorocan )
    am nuArAft.pct.34,sa7 )
     Defendant(s).

                                                     COMPLAINT

1.        Plaintiff(s)' address and telephone number:                      ren         mcok6 334-115)-1115
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2.        Narne and address of defendant(s):
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3.        Place of alleged violation of civil rights:                  1111-01n           Coun-k1        AlabC1M0-


4.        Date of alleged violation of civil rights:           ZfetyY\hc.                 r Loi Z605.0.-
5.        State the facts on which you base your allegation that our constituOonal ri hts hav- been
          violated: .n."--Ut ck        ( (\ \V                   a r-1-      r1DPI) Si)
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Date:
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                                                Plaintiff(s) Signature




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    Case 2:18-cv-00103-WKW-SMD Document 1 Filed 02/08/18 Page 3 of 3




                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                                 DIVISION



                                CERTIFICATE OF SERVICE


       I, La000n k ncyoi-eris                                     ,do hereby Certibt that a true and
correct copy of the fOregoing has been flitnished by                       cemilitt      (manner of
service,    U.S. Mail, electronic mail, etc.) on this   74.4%-.   day of (. ont„e,„c,   201P, to:


                     (Thd8c ()lithe I e                                   -MAW)
                        312dour4-house square
                            teYvnti4r, 41, 345V-1
  Pcbt-warGa,              2,6 1,3
Date
                                                          XCLU/Li/it-g
                                                        Signature
